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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


ISAAC HARRIS, et al.                )
                        Plaintiffs, )
                                    )
v.                                  )
                                    ) Civil Action No. 1:17-cv-01371
MEDICAL TRANSPORTATION              )
MANAGEMENT, INC.,                   )
                                    )
                       Defendant. )
                                    )


   MOTION FOR CONDITIONAL CERTIFICATION AND ISSUANCE OF NOTICE


       NOW COME Plaintiffs Isaac Harris, Darnell Frye, and Leo Franklin, by and through

their counsel, and move the Court to conditionally certify this case as a collective action under

the Fair Labor Standards Act, 29 U.S.C. § 216(b), and to facilitate the issuance of notice to

potential collective members. Plaintiffs seek certification of the following collective:

                All individuals who worked under the non-emergency medical
                transportation (NEMT) contracts between Medical Transportation
                Management, Inc. and the District of Columbia (the D.C.
                Contracts) at any time during the period from July 13, 2014 to the
                present who performed driving services under the contracts.

The grounds for this motion are set forth in the attached Memorandum and accompanying

Exhibits.

       Plaintiffs conferred with MTM on the relief sought herein in compliance with LCvR

7(m), and MTM indicated that it did not concur in the relief requested.

       THEREFORE, Plaintiffs respectfully request that this Court conditionally certify a

collective under section 216(b) of the Fair Labor Standards Act and direct that Notice issue to

potential collective members.
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Dated: October 2, 2017                    Respectfully submitted,

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